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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

                      Plaintiff,                         Criminal No. 2:23-cr-270 - 1

       v.                                                Hon. William S. Stickman IV

DONTE LASHAWN COLE,

                      Defendant.



                                     HEARING MEMO

                               HEARING HELD: Change of Plea
                             DATE HEARING HELD: April 14, 2025
                               BEFORE: William S. Stickman IV

Appearing for Government:                          Appearing for Defendant:
Robert Schupansky, Esquire                         Gabrielle Lee, Esquire

Hearing began at 2:42 p.m.                         Hearing concluded at 3:28 p.m.

Stenographer: Melissa Moore

                                         OUTCOME:

Defendant pleaded guilty to Count 1 of the Indictment.
The Court adjudicated the defendant guilty.
Presentence Investigation Report ordered.
Sentencing scheduled for 08/18/25 at 1:30 p.m.
$100.00 special assessment imposed.
The appropriate orders of court will follow.
